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                             UN ITED STATES DISTRICT COU RT
                             SOU TH ERN D ISTRICT OF FLOM D A
                       CASE NO.13-14047-CR-MARTW EZ/L> CH(s)(s)(s)(s)
  UN ITED STA TES O F AM ERICA

          Plaintiff,
  V S.

  PAUL EDW ARD M OORE,

         D efendant.
                                  /

         O R DER A D O PTIN G M A G ISTR ATE'S R EPO RT A ND R EC O M M EN DA TIO N

         THIS CAUSE came beforethe Courtupon theOrderofReference from theDistrict
  Courtto conducta ChangeofPleabeforea M agistrateJudge.
         THE M ATTER wasreferred toM agistrate Judge Frank J.Lynch Jr,on M ay 5,2014.A
  ReportandRecommendationwasfiledonM ay 14,2014,(DE 337),recommehdingthatthe
  Defendant'spleaofguilty beaccepted.During the ChangeofPleahearing,the M agistrateJudge
  questioned the Defendantregarding herwaiverofappealin which the Defendantacknowledged
  ontherecord thathewaswaivingorgiving up al1rightsto appealany sentence imposed by the
  DistrictCourtin thiscaseexceptunderthe lim ited circum stancescontained within theappeal
  w aiverprovision from the Plea A greem ent.

         ThepartieswereaffordedtheopportunitytofileobjectionstotheReportand
  Recomm endation,howevernonewerefiled.TheCourthasreviewedtheentirefileand record

  andnotesthatnoobjectionshavebeen filed.Aftercarefulconsideration,theCourtaffirmsand
  adoptstheReportand Recom m endation.A ccordingly,itishereby:
         O R D ERED A ND A DJUD G ED that
         TheRepol'tandRecommendation(DE 337)ofUnitedStatesMagistrateJudgeFrankJ.
  Lynch Jr,ishereby A FFIRM ED and AD O PTED in itsentirety.
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        TheDefendantisadjudgedguiltytoCountsThreeand CountSeven oftheFourth
  Superseding lndictm ent,which chargestheDefendantin Countssand 7:with ltnowingly using
  and canyinga fireann during and in relation to acrimeofviolenceandknowinglypossessing a
  firearm infurtheranceofacrimeofviolence(brandished),inviolation ofTitle 18,UnitedStates

  Code,SDONE
        ectionsAND
               924(cO)(1)(A)(ii)and(2).
                       RDERED in ChambersatM iam i,Florida,this
                                                                (dayofJune,2014,

                                              J   E        Tm
                                              UNITED      ATES DISTRI      JUDGE



  Copied:Hon.M agistrateLynch
  A1lCounselOfRecord
  U .S.Probation Oftice
